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                         WESTERN DIVISION         \'.S. DiS H\lt>i r:crnn
                             at Cincinnati, Ohio  ~OUTHERN O!Si. OHIO
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  IN RE: Cases Assigned to Senior Judge       General Order No. 17-01
         Sandra S. Beckwith


                                      ORDER

         The Clerk of Court is hereby directed to randomly reassign any case assigned
  to the undersigned without further Order of this Court.

        SO ORDERED.



  Date: January 3, 2017                       s/Sandra S. Beckwith
                                              Sandra S. Beckwith, Senior Judge
                                              United States District Court
